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l IN THE UNITED STA'I`ES DISTRICI` COURT

2 FOR 'I`HE`. EASTERN DISTRICT OF VIRGINIA

3 Al@xandria Division

4 -------------- x

§ ROBERTO CLAROS ,

6 et al.,

7 Plaintiffs,

8 v. : Civi1 Action NO.

9 SWEET HOME : 1:16-Cv-344~AJT-MSN
lO IMPROVEMEN'I`S, IHC.,
11 et al.,
12 Defendants.
13 -------------- X
14
15 Deposition of MYUNG KWAN KOO, Corporate Desiqnee
16 Falls Church, Virginia
17 Tuesday, Auqust 16, 2016
18 10:25 a.m.
19
20 Job N@.: 117893 ExH|B|-r
21 Pages: 1 - 243 § A
22 Rep©rted By: Roanna L. Ossege

 

 

 

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we failed two times.

And then the other thing -- most important
thing is master bathroom. He worked here.

MR. MARRITZ: The witness is holding up a
video on his cell phone.

THE WITNESS: Yeah.

MR. HUH: Can l see it?

THE WITNESS: Can you see this?

MR. MARRITZ: Mr. Koo, if that's a video of
one of the work sites, we have not seen that video
in disoovery, and we'd certainly like to have a look
at it before is

THE WITNESS: This one is after disappear --
disappear him. And master bathroom, he moved a11 of
the plumbing and started leaking like this. Water
leaking prob1em. Lot of problem here. A lot.

MR. MARRITZ: This is the first time I've
seen or heard of this video.

THE WITNESS: Yeah, this video --

MR. MARRITZ: Okay. There's another video.
How many videos --

MR. HUH: There's another video?

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MR. HUH: ls the video coming off, like, the
thingy that you saved, or is it coming off the
inside of your phone? ls it coming off of some sort

of an eemail chat group, or is it coming off your

phone?
A This one is phone. Text message or phone,
he send me. So I remember this, you know.

MR. HUH: Can I see? ls this some sort of
-- or is that messages?

THE WITNESS: Just message. Text message.

MR. HUH: Do you want to see it?

MR. MOSHENBURG: 1 only want to see it if by
seeing it we're not waiving our right to have it
produced.

MR. HUH: Absolutely.

MR. MOSHENBERG: All right. From 2016.
Wife new phone.

THE WITNESS: Most important thing is after

this customer kick out our company and then just to

 

this one -- finish, I can have $18,000. We lost

$18,000. Okay. More than him -- and disappear.

And he doesn't respond to any of my, you know -s I
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was calling, calling, calling, calling to him, and
he disappear. He said he has to go to hospital and
disappear and gone.

Yeah, this one -- look at this. This
electric wall, we had a problem so --

MR. MARRITZ: l mean, l don't know how the
poor court reporter is going to note all of these.

MR. MOSHENBERG: She's doesn't.

MR. MARRITZ: Good.

MR. MOSHENBURG: That's why this all needs
to be produced in discovery.

MR. MARRITZ: This all needs to be produced
in evidence.

THE WITNESS: This one is that Ferguson
house. You know, this picture.
BY MR. MARRITZ:

Q Mr. Koo, it looks like those pictures were
sent to you from your wife's new phone; is that
correct?

A Yes.

Q When did she send those pictures and that

video to you?

 

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A This one?

Q Y€S.

A Today. l needed as l ask her and se please
bring -- send as if you can keep the record, send
me. And l have to answer for you. So that much,

here it is.

Q Did you search your wife's phone when we
sent you document requests and interrogatories on
May 4th?

A So at that time, unfortunately, we didn't
find this, because my old phone gone. So my wife
thought all information is gone. But we found
several he reported before leave there, and she text
Jose -- no, no, Jose -- or, you know, some of the -~
these kind of thing come out. So she said this
one *- l found this. You know?

MR. HUH: When was that?
Q When did she find this information?
A This information is just a few days.
MR. HUH: Looking at what?
MR. MARRITZ: These photographs that he's

showing us here that se he says that he found these

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-~ that his wife found “- was able to get these off
of her cell phone a few days ago. This is certainly
the first time that we ever heard of them.

THE WlTNESS: Yeah, yeah, a few days ago she
found this.

BY MR. MARRI'I`Z:

Q Does your wife have a new phone or is this
the phone that she's had since 2015?

A No. She has old phone now, you know. She
has old phone. lhat's why little bit of a record.
She can have it. She changed some phone, but this
phone is new phone.

MR. HUH: Record where? What is he talking
about? What record is he talking about that his
wife is pulling this from? ls it her phone?

MR. MARRITZ: Yeah. When did your wife get
her -»

MR. HUH: Some folder or something?

THE WllNESS: Her phone. Her phone.

Q How long has she had her current phone?

A Long time. A long time.

Q Okay. Like how long? Years and years, or

 

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days and days?

A Two or three years. l don't know.

Q lwo or three years. Okay. So obviously --
did she have her phone during all of last year, for
example?

A Yes, but very limited -- all information
is -- l kept this phone as my phone ss was my phone.
But some of the pictures -- very big issue, big
problem. l cannot have $18,000 -a this kind of
issue. Sometimes l ask her, keep this picture.
That time, you know as

Q So that was your back-up system for
important information --

A Yes.

Q a- you would just text it to your wife's
phone?

A Yes, that's true.

Q Thank you. Let's see. And, Mr. Koo, would
Hector report his hours of work to you?

A Yes.

Q Okay. How did he report his hours to you?

A Mostly text message.

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